Case No. 1:14-cv-02830-RM-CBS Document 1-17 filed 10/17/14 USDC Colorado pg 1 of 4
   Case 3:14-cv-05358-FLW-LHG Document 5 Filed 10/03/14 Page 1 of 4 PageID: 113




                                           October 3, 2014


   The Honorable Judge Freda L. Wolfson
   United States Federal Courthouse
   402 E. State Street, Court Room 5E
   Trenton, New Jersey 08608


   Re:    Channel Methods Partners, LLC v. Pharmatech, Inc.
          United States District Court for the District of New Jersey
          Case No. 3:14-CV-05358 FLW-LHG


   To The Honorable Judge Freda L. Wolfson:

          I write on behalf of my client, Pharmatech, Inc. (“Pharmatech”) concerning the above-
   captioned case. On September 25, 2014, Plaintiff filed a Notice of Voluntary Dismissal of
   Complaint (“Notice”), purporting to withdraw its Complaint “without prejudice, pursuant to
   F.R.C.P. 41(a).” Pharmatech writes to oppose the without prejudice nature of the dismissal and
   to request an opportunity to recover its attorney fees and costs.

   Background

          The following timeline of events informs the prejudice to Pharmatech that would result
   from a dismissal without prejudice:

          1. Following this case’s original filing in New Jersey State Court and service of the
             Complaint and Summons on Pharmatech, counsel for Pharmatech sent counsel for
             Plaintiff a letter via email and first class mail, dated August 22, 2014, a copy of which
             is attached as Exhibit A. That letter requested an immediate withdrawal of the
             claims against Pharmatech for both factual and legal reasons—including
             jurisdictional and venue defects, and the fact that Pharmatech had properly terminated
             the contract Plaintiff was alleging Pharmatech breached. Plaintiff never responded.

          2. On August 26, 2014, Pharmatech timely removed the State Court case to this Court.
             Plaintiff never moved to remand.



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Case No. 1:14-cv-02830-RM-CBS Document 1-17 filed 10/17/14 USDC Colorado pg 2 of 4
   Case 3:14-cv-05358-FLW-LHG Document 5 Filed 10/03/14 Page 2 of 4 PageID: 114




          3. On September 2, 2014, Pharmatech timely filed its Motion to Dismiss or in the
             Alternative for a More Definite Statement and to Transfer Venue (“Motion”). The
             deadline for Plaintiff’s opposition was September 22, 2014. Plaintiff did not file a
             response.

          4. At no point during this litigation has Plaintiff ever provided any factual basis for the
             claims asserted in the Complaint.

          5. Pharmatech has incurred approximately $33,000 in attorney fees and costs in this
             matter to date.

   Applicable Rule

           F.R.C.P. 41(a), pursuant to which Plaintiff purports to voluntarily dismiss this case, states
   the following:

              (1) By the Plaintiff.

                      (A) Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66 and
                      any applicable federal statute, the plaintiff may dismiss an action without a
                      court order by filing:

                             (i) a notice of dismissal before the opposing party serves either an
                             answer or a motion for summary judgment; or

                             (ii) a stipulation of dismissal signed by all parties who have appeared.

                      (B) Effect. Unless the notice or stipulation states otherwise, the dismissal is
                      without prejudice. But if the plaintiff previously dismissed any federal- or
                      state-court action based on or including the same claim, a notice of dismissal
                      operates as an adjudication on the merits.

              (2) By Court Order; Effect. Except as provided in Rule 41(a)(1), an action may be
              dismissed at the plaintiff’s request only by court order, on terms that the court
              considers proper. If a defendant has pleaded a counterclaim before being served with
              the plaintiff’s motion to dismiss, the action may be dismissed over the defendant’s
              objection only if the counterclaim can remain pending for independent adjudication.
              Unless the order states otherwise, a dismissal under this paragraph (2) is without
              prejudice.




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Case No. 1:14-cv-02830-RM-CBS Document 1-17 filed 10/17/14 USDC Colorado pg 3 of 4
   Case 3:14-cv-05358-FLW-LHG Document 5 Filed 10/03/14 Page 3 of 4 PageID: 115




            The Court should not permit dismissal under F.R.C.P. 41(a)(1) because Pharmatech has
   already filed a responsive pleading (which for purposes of this rule, and under the circumstances
   of this case, should be treated as a motion for summary judgment). See infra.

          The Court should instead dismiss Plaintiff’s Complaint pursuant to F.R.C.P. 41(a)(2),
   which permits dismissal only upon “terms that the court considers proper.” Here, those terms
   should include a with prejudice dismissal, and should permit Pharmatech an opportunity to
   recover the fees and costs associated with defending against Plaintiff’s meritless claims. See
   infra.

   Pharmatech’s Request for Dismissal With Prejudice

           As stated above, the Court should not permit dismissal under F.R.C.P. 41(a)(1) because
   Pharmatech has already filed a responsive pleading, and “a Rule 12(b)(6) motion may be treated
   as one for summary judgment for Rule 41(a)(1)[(A)](i) purposes.” Manze v. State Farm Ins. Co.,
   817 F.2d 1062, 1066 (3rd Cir. 1987).

            Pharmatech respectfully requests that the Court treat its Motion as one for summary
   judgment under F.R.C.P. 41(a)(1) for the purpose of addressing Plaintiff’s pending Notice. This
   is appropriate because Pharmatech’s Motion to Dismiss was not strictly based upon Plaintiff’s
   failure to state a claim or some technical defect in the pleading. Instead, Pharmatech’s Motion
   was a substantive challenge to Plaintiff’s Complaint, addressing the merits of Plaintiff’s claims
   and referencing documents beyond the pleadings. The Motion briefed substantive issues
   concerning the economic loss rule, jurisdiction, and contract interpretation. Moreover,
   Pharmatech expended significant time and resources responding to Plaintiff’s claims, even
   though those claims should never have been filed (much less filed in New Jersey, because the
   governing agreement includes a Colorado venue clause).

          Should the Court treat Pharmatech’s Motion to Dismiss as one for summary judgment,
   dismissal under F.R.C.P. 41(a)(1) would be precluded, but the Court may nevertheless dismiss
   the pending action under F.R.C.P. 41(a)(2). Dismissal under F.R.C.P. 41(a)(2) is permitted only
   “on terms that the court considers proper.” Here, those terms should include a with prejudice
   dismissal.

           As set forth in the August 22, 2014 letter attached as Exhibit A, this action should never
   have been filed. At its core, Plaintiff’s Complaint amounts to a breach of contract claim, but
   there can be no dispute that Pharmatech terminated that contract on April 7, 2014. Pursuant to
   Section 8 of the contract, Pharmatech was allowed to terminate the contract so long as the
   termination occurred in writing (and it did) and so long as it occurred after month four (4) of the
   engagement (it was terminated after month ten (10)). Pharmatech alerted Plaintiff to that
   fundamental defect in its claim, but Plaintiff never responded. With the deadline to answer fast-
   approaching, and radio-silence from Plaintiff, Pharmatech was forced to file a responsive
   pleading. In light of the jurisdictional and venue defects of Plaintiff’s Complaint, Pharmatech



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Case No. 1:14-cv-02830-RM-CBS Document 1-17 filed 10/17/14 USDC Colorado pg 4 of 4
   Case 3:14-cv-05358-FLW-LHG Document 5 Filed 10/03/14 Page 4 of 4 PageID: 116
